                      Case: 1:24-cv-08087 Document #: 62-1 Filed: 11/25/24 Page 1 of 1 PageID #:376


Defendant Number      Name                                                      Settlement Status
                   30 TADYAO                                                    Default Due
                   29 ZHIXING-US                                                Default Due
                   27 Southeast Softwash                                        Default Due
                   24 Altima-Store                                              Default Due
                   22 ktopnob                                                   Default Due
                   21 MINGLE Tool                                               Default Due
                   20 Jariko                                                    Default Due
                   14 ShadowY                                                   Default Due
                   13 S T Sales Inc                                             Default Due
                   28 Slowirrigate                                              Settlement pending
                   26 best online-store                                         Settlement pending
                    6 Hoypeyfiy                                                 Settlement pending
                   25 JZ Racing Performance                                     Settlement pending
                   23 Saiper                                                    Settlement pending
                   12 RIDGE WASHER                                              Continued Litigation
                    7 JoeJet                                                    Continued Litigation
                   30 FIBO Official Store                                       Dismissed without Prejudice
                   29 Korea Trendy Apparel Store                                Dismissed without Prejudice
                   28 Zhuji Yujia Environmental Protection Technology Co., Ltd. Dismissed without Prejudice
                   27 WAWULUGALA ENGINEERS (PRIVATE) LIMITED                    Dismissed without Prejudice
                   26 Taizhou Juxing Technology Co., Ltd.                       Dismissed without Prejudice
                   25 Shandong Yatemei Environmental Technology Co., Ltd.       Dismissed without Prejudice
                   24 Jinhua Fenjun Industry And Trade Co.,Ltd                  Dismissed without Prejudice
                   23 Guizhou Blue Whale Machinery Equipment Co., Ltd.          Dismissed without Prejudice
                   22 Guangdong Boyuan Spraying Technology Co., Ltd.            Dismissed without Prejudice
                   21 Dongguan Fengyun Spray Technology Development Co., Ltd. Dismissed without Prejudice
                   20 Dongguan CS Hardware Technology Co., LTD                  Dismissed without Prejudice
